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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN

CYNTHIA PALACIOS, individually and  )
on behalf of all others similarly situated,
                                    )
                                    )
                    Plaintiff,      )
               v.                   )                Case No. 2:21-CV-11815
                                    )
                                    )                Hon. Terrence G. Berg
ANNIE’S PUBLISHING, LLC,            )
                                    )
                     Defendant.     )
____________________________________)

      STIPULATED ORDER TO STAY ACTION PENDING MEDIATION

       Plaintiff Cynthia Palacios and Defendant Annie’s Publishing, LLC

(“Annie’s,” together with Plaintiff, the “Parties”) state as follows:

       WHEREAS, this action was originally filed on August 5, 2021 by former

plaintiff Arlene Devroy (ECF No. 1);

       WHEREAS, the operative first amended complaint substituting Plaintiff as

named plaintiff in Ms. Devroy’s place was filed on December 15, 2021 (ECF No.

8);

       WHEREAS, Annie’s filed a motion to dismiss on March 3, 2022 (ECF No.

12);

       WHEREAS, Plaintiff filed a response to the motion to dismiss on March 24,

2022 (ECF No. 14);
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      WHEREAS, Annie’s filed a reply in support of the motion to dismiss on

March 31, 2022 (ECF No. 16);

      WHEREAS, the Parties wish to explore potential resolutions to this action,

and have agreed to attend a mediation on September 20, 2022 before the Honorable

Frank Maas (Ret.) of JAMS;

      WHEREAS, in order to preserve judicial resources and afford the Parties an

opportunity to reach an amicable resolution at this juncture of the action, the Parties

respectfully request that the Court stay this action, and defer deciding the

Defendant’s motion to dismiss, pending the outcome of the Parties’ mediation before

Judge Maas;

      WHEREAS, the Parties wish to advise the Court that the timing of their

mediation (approximately three (3) months from today’s date) is attributable to the

upcoming departure of Defendant’s President and Chief Executive Officer and his

successor’s transition into the company, which will include the need to become

apprised of the issues presented in this action prior to the mediation;

      WHEREAS, the Parties, by and through their counsel, stipulate to an Order

staying this action pending their upcoming mediation;

      WHEREAS, should the Court stay this action as the Parties have stipulated to

herein, the Parties propose that they be required to submit a joint status report to




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apprise the Court of the outcome of the mediation within five (5) days following the

mediation, i.e., by no later than September 25, 2022;

      Accordingly, IT IS HEREBY ORDERED that this action is stayed for all

purposes pending the outcome of the Parties’ September 20, 2022 mediation, and

that the Parties shall file a joint status report apprising the Court of the outcome of

the mediation by no later than September 25, 2022.

      SO ORDERED.

Dated: June 27, 2022                    /s/Terrence G. Berg______________
                                        Hon. Terrence G. Berg
                                        UNITED STATES DISTRICT JUDGE




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STIPULATED AND AGREED:



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Dated: June 9, 2022                      Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I, E. Powell Miller, an attorney, hereby certify that on June 9, 2022, I served

the above and foregoing on all counsel of record by submitting it via the Court’s

Utilities system and forwarding verification of the submission and this document to

counsel for Defendant at the following email addresses:

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